
93 N.Y.2d 948 (1999)
JAMIE MESSENGER, an Infant under the Age of Eighteen, Respondent-Appellant,
v.
GRUNER + JAHR PRINTING AND PUBLISHING, Appellant-Respondent, et al., Defendant.
Court of Appeals of the State of New York.
Decided June 8, 1999.
Concur: Chief Judge KAYE and Judges BELLACOSA, SMITH, LEVINE, CIPARICK, WESLEY and ROSENBLATT.
*949 Certification of questions by the United States Court of Appeals for the Second Circuit, pursuant to section 500.17 of the Rules of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
